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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK SEES EON EES ED
KAREEM NELSON, DOC #:
DATE FILED: _ 10/19/2020
Plaintiff,
-against- 20 Civ. 1770 (AT)

J’S POKE LLC d/b/a Hula Poke, and ST. ORDER
JOHN COURT OWNERS CORP..

Defendants.

 

 

ANALISA TORRES, District Judge:

The Court having been advised that the parties have reached a settlement in principle, ECF
No. 43, it is ORDERED that the above-entitled action be and is hereby dismissed and discontinued
without costs, and without prejudice to the right to reopen the action within thirty days of the date of
this Order if the settlement is not consummated.

Any application to reopen must be filed within thirty days of this Order; any application to
reopen filed thereafter may be denied solely on that basis. Further, if the parties wish for the Court to
retain jurisdiction for the purposes of enforcing any settlement agreement, they must submit the
settlement agreement to the Court within the same thirty day period to be so-ordered by the Court.
Per Rule IV(C) of the Court’s Individual Practices in Civil Cases, the Court will not retain
jurisdiction to enforce a settlement agreement unless it is made part of the public record.

Any pending motions are moot. All conferences are vacated. The Clerk of Court is directed
to close the case.

SO ORDERED.

Dated: October 19, 2020
New York, New York

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ANALISA TORRES
United States District Judge

 
